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                                                   UNITED STATES DISTRICT CO URT
                                                   SOU TH ERN DISTRICT OF FLORIDA

                                                     CascNo.21-20151-CR-AT,TM AN(s)
                       UNITED STA TES OF AM ERICA

                       VS.                                                                                                 '

                       DANNY NUNEZ                 O L,

                                 Defendant.               .

                                                                          /

                                                              PLEA A GREEM ENT

                                 TheUnitçdStatesAttolmey'sOfficefortheSouthernDistrictofFlorida(ttthisOffice''land
                       DANNY NUNEZ M ARM OL (hereinafterreferredtoastheSûdefendanf')enterintothefollow'ing
                       agreement:

                        1.       The defendantagrees to plead guilty to CountOne ofthe Superseding Indictment,which

                       chargesthatfrom in oraround 2014,and continuing through in and around 2020,in M iam i-Dade,
                                                     '                                                                         !
                                                               C
                       Broward,and M onroe Counties,in the Southern DistrictofFlorida,and in the countries ofthe
.
                       Dom inican Republic, Colum bia, and elsewhere, the defendant did knowingly and w illfully

                       conspire with otherperson'
                                                sto distribute a controlled substance in Schedule II, thatis,5 kilograms

                       orm oreofa m ixtureand substancecontaining adetectableam ountofcocaine,intending,knowing,

                       and having reasonable cause to believe that such controlled substance would be unlawfully

                       imported intotheUnitedStates,inviolationofTitle21,UnitedStatesCode,Section959(a)'
                                                                                                       ,allin
                       violation ofTitle 21, United States Code,Section 963.                                                   ;
                                                                                                                               .
                             .                                                                                                 I

                        2.       The United Statesagreesto dism issCountsTwo and Three ofthe Superseding Indictm ent
                                                                                                                               1
                       atthetime ofsentencing.
                                                                                                                               !
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            The defendant is aw are thatthe sentence willbe im posed by the Courtafterconsidering

     theadvisoryUnitedStatesSentencingGuidelinesandPolicyStatements(hereinaftertlsentencing
     Guidelines''). The defendantacknowledges and understandsthatthe Courtwillcomputean
     advisory sentence undèrthe Sentencing Guidelinesand thatthe applicable guidelineswillbe
     determ ined bythe Courtrelying in partontheresultsofapre-sentence investigationby theCourt's

     probation ofsce,which investigation willcomm enceafterthe guilty plea hasbeen entered. The

     defendantisalso aware that,undefcertain circum stances,the Courtmay departfrom the advisory

     Sentencing Guidelines'rangethatithascom puted and m ay raise or lowerthatadvisory sentence

     underthe Sentencing Guidelines. The defendantis fartherawarevand understandsthatthe Court

     is required to considerthe advisory guideline range determ ined underthe Sentencing Guidelines

     bùtisnotboundto imposeasentencewithinthatadkisoryrange;theèourtispermittedtotailor
     the ultim ate sentence in lightofotherstatutory concerns,and such sentence may be eithermore

     severe or less severe than the Sentencing Guidelines'advisory range. Know ing these facts,the

     defendantunderstandsand acknow ledgesthatthe Courthastheauthority to im poseany sentence

     w ithin and up to the statutory m axim um authorized by law fortheoffense identified in paragraph

     one andthatthe defendantm ay notwithdraw the plea solely asa resultofthesentence im posed.

     4.     The defendantalso understands and açknowledgesthatthe Coul'
                                                                      tm ay impose a statutory

     m aximum tenn ofimprisonm entofup to life imprisonm entand m ustiinposea statutory m inimum

     term of10 years'im prisonm ent,followed by a term ofsupervised release ofatleast5 years and

     up to a '
             lifetim e of supervised release. ln addition to a term of imprisonm ent and supervised

     release,theCourtmay imposeafineofupto$10,000,000.



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                The defendant further understands and acknowledges that,in addition to any sentence

!        imposed underparagraph fourofthisagreement,aspecialassessmentin theamountof$100will
I        b
          eim posed on thedefendant. Thedefendantagreesthatany specialassessm entimposed shallbe

         paidatthetim eofsentencing. lfthedefendantisGnancially unable to pay thespecialassessm ent,

         the defendantagreesto presentevidence to thisOffice and the Courtatthe time ofsentencing as

:        to the reasonsforthedefendant'sfailureto pay.

         6.     This Office reserves the rightto inform the Courtand the probation office of allfacts

         pertinent to the sentencing process,including a11relevant inform ation concerning the offenses

         com m itted,whether charged or not,as well as concerning the defendant and the defendant's

         background. Subjectonlytotheexpresstermsofanyagreed-uponsentencingrecommendations
         contained in this agreement,thisOffice furtherreservesthe rightto m ake any recom mendation as

         to the quality and quantity ofpunishm ent.

                ThisOffice agreesthatitwillrecomm end atsentencingthatthe Courtreduceby tw o levels

         theSentencingGuidelineslevelapplicabletothedefendant'soffense,pursuanttoSection3E1.l(a)
         ofthe Sentencing Guidelines,based upon the defendant'srecognition and affirmative and tim ely

         acceptanceofpersonalresponsibility. Ifatthetim e ofsentencing the defendant'soffense levelis

         determ ined to be 16 orgreater,this Offk e willfile a m otion requesting an additionalone level

         decreasepursuantto Secition 3E1.1(b)oftheSentencingGuidelines,statingthatthedefendanthas
         assisted authorities in the investigation or prosecution of the defendant's ow n m isconduçt by

         tim elynotifying authoritiesofthedefendant'sintentiontoenterapleaofguilty,thereby perm itting

         thegovernmentto avoidpreparing fortrialand perm itting thegovernmentand theCourtto allocate

         theirresources efficiently. This Office.however,willnotbe required to m ake thism otion and


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         thisrecommendation ifthe defendant:(1)failsorrefusesto make afull,accurate and complete             l
         disclosure to the probation office ofthe circum stances surrounding the relevantoffense conduct;

         (2)isfound to have misrepresented factsto thegovernmentpriorto entering into thisplea
         agreement;or(3)commitsany misconductafterentering into thispleaagreement,including but
         notlim ited to com m itting a state orfederaloffense,violating any term ofrelease,orm aking false

         statem entsorm isrepresentationsto any governm entalentity orofficial.

         8.     ThisOffice and the defendantagree that,although notbinding on the probation office or

         theCourt,theywilljointlyrecommendthattheCourtmakethefollowingfindingsandconclusions
         asto the sentence to be im posed:

                       a. Thatthe quantity ofcocaine involved in the offense,for purposes ofSection

                              2D1.1(a)and (c)ofthe Sentencing Guidelines,isgreaterthan 450 kilograms
                              (correspondingto level38oftheGuidelines).
                       b. Thatthe defendant's offense levelshould neitherbe increased nordecreased

                              underChaptersTwo and Three ofthe Sentencing G
                                                                          , ui
                                                                             delines.

                              Thatthe defendantdoes notm ed the criteria for a sentence reduction under
                                                                       I
                          .
                              '
                              l-itle18,UnitedStatesCode,Section3553(9,asamended bytheFirstStep Act
                              of2018,from the statutory m inim um sentenbe ora two-levelreduction in the

                              SentencingGuidelinesunderSections5Cl.2and2D1.1(18).
                This Ofllce agreesto recom m end that,pursuantto Title 18,United States Code,Section

         3553(a),basedonthedefendant'svoluqtarjsurrenderandremovalfrom theDom inicanRepublic,
         the Courtgranta dow nward variance equivalentto one offense levelfrom the defendant'stotal

         offenselevelasdeterm ined by the Court,provided thatthetotaloffense levelunderthe Sentencing


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     Guidelinesbeforeany such downwardvariance isgranted is35orhigher. ThisOfficealso agrees
                                                         .7

     to recom mend a sentence atthe 1ow end ofthe equivalentSentencing Guideline range afterthe

     application of the one-level downw ard variance described in this provision,provided that the

     equivalentoffense Ievelis notlowerthan 34. Thedefendantunderstandsand acknowledgesthat

     the Coul'
             t is under no obligation grant this variance or follow this Office's sentencing

     recom m endation. Exceptasexpressly provided herein,thedefendantisnotprecluded by thisplea

     agreem ent from seeking a further dow nward variance based on his voluntary surrender and

     rem ovalfrom the Dom inican Republic. The defendantexpressly agreesthatany such requestfor

     a furthervariance shallbe forthe equivalentofno lowerthan offense level32. The govelmment

     reservesthe rightto oppose any such requestfora furtherdownward variance and to m ake any

     sentencing recommendation without limitation, subjectto the provisions set forth in this
     agreem ent.

      l0.   The defendantisaware thatthe sentence has notyetbeen determ ined by the Court. The

     defendantalso is aware thatany estim ate ofthe probable sentencing range or sentence thatthe

     defendantm ay receive,whetherthatestimate comesfrom thq defendant'sattorney,thisOffice,or

     the probation oftice,isaprediction,nota prom ise,and isnotbinding on thisOffice,theprobation

     office.orthe Court. The defendantunderstandsfurtherthatany recomm endation thatthisOffice

     m akestothe Courtastosentencing,whetherpursuanttothisagreem entorotherwise,isnotbinding

     on the Courtand the Courtm ay disregard the recom m endation in its entirety. The defendant

     understands and acknow ledges,as previously acltnowledged in paragraph three above,that the

     defendantm ay notwithdraw hisplea based upon the Court's decision notto accepta sentencing




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     recommendationmadebythedefendant,thisOffice,orarecommendation madejointly bythe
     defendantand thisOfflce.

            The defendantagreesto plead guilty to CountOne ofthe Superseding Indictm ent,which

     charges the defendantw ith knowingly and willfully conspiring with otherpersonsto distribute a

     controlled substance, intending', know ing, and having reasonable cause to believe that such

     controlled substancew ould be unlawfully im ported into the United States,in violation ofTitle21,

     United StatesCode,Section959(a);a11inviolationofTitle21,United StatesCode,Section 963.
     The defendantagreesand understandsthattheabovecharge involvesthedefendant'sconduct,and

     theconductofothers,between in and about2014 to in and about2020. Thisagreem entresolves

     the defendant's federalcrim inalliability in the Southern D istrictof Florida grow ing outofany

     crim inalconductby thedefendantknom zto thisOffice,asofthedate ofthisplea agreement.

     12.    The defendantagrees,in an individualand any other capacity,to forfeitto the United

     States,voluntarily and im m ediately,any right,title,and interestto any property constituting,or

     derived from ,any proceeds obtained,directly orindirectly,asa resultofthe offense in violation

     ofTitle 2l,United States Code,Section 963,to which the defendantis pleading guilty,and any

     property used,or intended to be used, in any manner or part,to com m it,or to facilitate the

     com m ission of,such offense,pursuantto Title21,United StatesCode,Section 853. In addition,

     the defend>ntagreesto forfeiture ofsubstitute property pursuantto Title 21,United StatesCode,

     Section 853(p). Theproperty subjectto forfeiture includes,butisnotlimited to,a forfeiture
     moneyjudgmentin a sum ofatleast$10,778,570.00,which representsthe proceedsthatthe
     defendantobtained,directly orindirectly,asaresultoftheoffense conductto which the defendant

     is pleading guilty. Pursuant to Title 21,United States Code,Section 853(d),any property,

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     including,butnotlim ited to,property in the Dom inican Republic,acquired during the charged

     conspiracy time frame,from approximately early 2014 through 2020,isdirectly forfeitable as
     proceedsofthe offense,and the defendantagreesto forfeitureofany such propedy.

            The defendantfurtheragrees thatforfeiture is independentof any assessm ent,fine,cost,

     restitution,orpenalty thatm ay be im posed by the'
                                                      Court.The defendantknowingly and voluntarily

     agrees to waive all constitutional, legal, and equitable defenses to the forfeiture, including

     excessive fines under the Eighth Am endmentto the United States Constitution.In addition,the

     defendantagreesto waive any applicabletime limitsforadministrative orjudicialforfeiture
     proceedings,therequirementsofFed.R.Crim.P.32.2and43(a),andanyappealoftheforfeiture.
     l4.    Thedefendantalso agreesto fully andtruthfully disclosetheexistence,nature,and location

     ofallassetsin which the defendanthas.orhad any directorindirectfinancialinterestorcontrol,

     and any assets involved in the offense of conviction. The defendant agrees to take all steps

     requested by the United Statesfortherecovel'y and forfeiture ofallassetsidentified by the United

     Statesassubjecttoforfeiture. Thisincludes,butisnotlimitedto,thetimelydeliveryuponrequest
     ofaIlnecessary and appropriatedocumentation to delivergood and m arketable title,consenting to

     allorders of forfeiture,and not contesting or impeding in any way w ith any crim inal,civilor

     adm inistrative forfeiture proceeding concerning the forfeiture.

     15. lnfurtheranceofthesatisfactionofaforfeituremoneyjudgmententeredbytheCourtin
     thiscase,thedefendantagreesto the following:

                    a.     Subm ita financialstatem entto thisOfticeupon request,within 14 calendar

                           daysfrom therequest;
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                       b.      M aintain any assetvalued in excessof$10,000,and notsell,hide,waste,
                               encum ber,destroy,orothenvise devalue such assetw ithoutpriorapproval

                               ofthe United States;

                       c.      Provide inform ation about any transfer of an asset valued in excess of

                               $10,000sincethecommencementoftheoffenseconductinthiscasetodate;
                       d.      Cooperate fully in the investigation and the identification of assets,

                               including liquidating assets,m eeting with representatives of the United

                               States,and providing any docum entation requested;and

                       e.      N otify,w ithin 30 days,the Clerk ofthe Courtforthe Southern Districtof

;                              Florida and thisOffice of:(i)any change ofname,residence,ormailing
                               address,and (ii)anymaterialchange in economiccircumstances.
         16.    The defendantfurther understands thatproviding false or incom plete information about

1        assets,concealing assets,m aking m aterially falsestatem entsorrepresentations,ormakingorusing

         falsewritingsordocum entspertaining to assets,taking any actionthatw ould im pedetheforfeiture

         ofassds,orfailing to cooperate fully in the investigation and identification ofassetsm ay be used

         asabasisfor:(i)separateprosecution,including,underTitle18,UnitedStatesCode,Section 100l;
         or(ii)recommendation ofadenialofareduction foracceptanceofresponsibilitypursuanttothe
         United StatesSentencing Guidelinesj3E1.1.
                The defendantisaw arethatTitle28,United StatesCode,Section 1291andTitle l8,United

         StatesPode,Section3742affordthedefendanttherighttoappealthesentenceimposedinthis
         case. A cknow ledging this,in exchange forthe undertakings m ade by the United States in this

         plea agreem ent,the defendanthereby waives aIlrights conferred by Sections 1291 and 3742 to


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             appealany sentence im posed,including any restitution order,orto appealthem annerin which the

             sentence was im posed,unlessthe sentence exceeds the m axim um perm itted by statute oris the

             resultofan upward departure and/oran upward variance from the advisory guideline range that

             the Court establishes at sentencing. The defendant further understands that nothing in this

             agreem entshallaffectthe government'srightand/orduty to appealas setforth in Title l8,United

             StatesCode,Section 3742*)and Title28,United StatesCode,Section 1291. However,ifthe
             United States appeals the defendant's sentence pursuant to Sections 3742(b) and 1291,the
             defendant shall be released from the above w aiver of his right to appealhis sentence. The

             defendantfurtherhereby w aivesallrightsconferred by Title28,United StatesCode,Section 1291

             to assertany claim that(1) the statutets)to which the defendant is pleading guilty is/are
             unconstitutional;and/or(2)theadmittedconductdoesnotfallwithinthescopeofthestatutets)of
             conviction. By signing this agreem ent, the defendant acknowledges that the defendant has
                                             1
             discussed the appeal waiver set fol'th in this agreem ent with the defendant's attorney. The

             defendantfurtheragrees,togçtherw ith thisOffice,to requestthattheCourtenteraspecificfinding
                                             .




!
I            thatthedefendant'swaiverofhisrighttoappealthesentenceimposedinthiscaseandhisrightto
I

             appealhisconviction in the m annerdescribed abovew asknow ing and voluntary.

             18.    The defendantrecognizesthatpleading guilty m ay have consequencesw ith respectto the

             defendant'simm igration statusifthedefendantisnotacitizenoftheUnited States. Underfederal

             law ,abroad range ofcrim es are rem ovable offenses,including theoffense to which thedefendant

             is pleading guilty. lndeed,because the defendant is pleading guilty to narcotics trafficking,

             rem oval is presum ptively m andatory. The defendant know ingly and voluntarily consents to

!            rem ovalfrom the United States following com pletion ofhissentence,w aivesany rightsrelating
I
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          to any and a1l forms of relief from rem oval or exclusion, agrees to abandon any pending

          applicationsforsuch relief,and agrees to cooperate w ith the Departm entofHom eland Security

          during removalproceedings.

          19.     This is the entire agreem entand understanding between this Office and the defendant.

          There are no otheragreem ents,promises,representations,orunderstandings and this agreement

          supersedesany prioragreem ents,including any Kastigar Ietteragreem entsentered.



                                                     JUAN AN TON IO GONZA LEZ
                                                     UN ITED STA TES ATTORN EY


          Date:    3 ( P2                     By:
                                                     ELLEN D'ANGELO
                                                     A SSISTAN T u .s.ATTORNEY


          Date: x lzalaz- By:yltAxltQUINTER0,Es
                                                     ATT RxEv FoR D/FENDANT

          Date:ap-aq-qa
                      ' By:                           /z,
                                                     DANN Y N UN EZ M ARM OL
                                                     DEFENDANT




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